Case 2:16-cv-02229-SHL-tmp Document 223 Filed 07/18/18 Page 1 of 3                PageID 3350




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION


 AVERY OUTDOORS LLC f/k/a BANDED FINANCE LLC,

        Plaintiff,

 v.

 PEAK ROCK CAPITAL, LLC, and
 OUTDOORS ACQUISITION CO., LLC,

        Defendants,
                                                          Case No. 2:16-cv-02229-SHL-tmp
 And,

 OUTDOORS ACQUISITION CO., LLC

        Third-party Plaintiff/Counter-Claimant,

 v.

  AO LIQUIDATION TRUST INC., f/k/a AVERY OUTDOORS, INC.,

         Third-Party Defendant /Cross-Claimant.



              JOINT NOTICE OF WITHDRAWAL OF REQUESTS FOR
                  FEES, EXPENSES AND COSTS PURSUANT TO
          FEDERAL RULE OF CIVIL PROCEDURE 37 AND 28 U.S.C. § 1447(c)


        COME NOW Plaintiff Avery Outdoors LLC f/k/a Banded Finance LLC (“Banded”) and

 Third-Party Defendant AO Liquidation Trust, Inc., f/k/a Avery Outdoors, Inc. (“Avery”), by and

 through counsel, and file this Joint Notice of Withdrawal of Requests for Fees, Expenses and

 Costs (“Joint Notice of Withdrawal”).

        Banded was previously awarded its reasonable fees and costs pursuant to Federal Rule of

 Civil Procedure 37(5)(A) in this Court’s Order Remanding Case to Shelby County Chancery
Case 2:16-cv-02229-SHL-tmp Document 223 Filed 07/18/18 Page 2 of 3                  PageID 3351




 Court (the “Remand Order”) [Doc. No. 218].         The Remand Order instructed Banded to file

 supporting documentation in compliance with Local Rule 54.1(b) as to the fees, costs and

 expenses which Banded seeks pursuant to Rule 37(5)(A) and 28 U.S.C. § 1447(c). By filing this

 Joint Notice of Withdrawal, Banded withdraws any request for fees, costs or expenses from the

 Defendants Peak Rock Capital LLC (“Peak Rock”) and Outdoors Acquisition Co., LLC

 (“OAC”) (OAC and Peak Rock together are the “Defendants”).

        Avery previously filed a Motion to Remand Case and to Award Attorneys’ Fees and

 Costs [Doc. No. 217]. The Remand Order denied the remand request of Avery as moot but left

 pending the portion of Avery’s motion seeking fees and costs pursuant to 28 U.S.C. § 1447(c).

 By filing this Joint Notice of Withdrawal, Avery withdraws any request for fees, costs or

 expenses from the Defendants.

        This Joint Notice of Withdrawal is intended to resolve all outstanding requests for fees,

 expenses and costs which remained before this Court pursuant to Rule 37(5)(A) and 28 U.S.C. §

 1447(c).



 Respectfully submitted,

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                                                2
Case 2:16-cv-02229-SHL-tmp Document 223 Filed 07/18/18 Page 3 of 3                   PageID 3352




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 Counsel for AO Liquidation Trust, Inc. f/k/a Avery Outdoors, Inc.




                                    CERTIFICATE OF SERVICE

         I certify that a true and correct copy of the foregoing was filed with the Court’s ECF/CM
 system, which shall transmit a true and correct copy of the foregoing document upon all parties
 receiving notice.

 This the 18th day of July, 2018.



                                                    /s/ R. Campbell Hillyer




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